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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

VEROBLUE FARMS USA, INC.,              §
   Plaintiff,                          §
                                       §
 v.                                    §     CIVIL ACTION NO. 3:19-CV-00764-L
                                       §
LESLIE A. WULF, BRUCE A. HALL, JAMES   §
REA, JOHN REA, and KEITH DRIVER,       §
   Defendants/Counter-Plaintiffs,      §




      THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S RULE 12(B)(6)
      MOTION TO DISMISS THIRD-PARTY CLAIMS & BRIEF IN SUPPORT
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        Pursuant to Federal Rule of Civil Procedure 12(b)(6), Third-Party Defendant Norman

McCowan (“McCowan”) files this Motion and Brief in Support of his Motion to Dismiss the

Third-Party Claims (Dkt. 66) brought by Defendants Leslie A. Wulf (“Wulf”), Bruce A. Hall

(“Hall”), James Rea (“James Rea”), and John (Ted) Rea (“Ted Rea”) (collectively, “Third-Party

Plaintiffs”) for failure to state a claim. See Fed. R. Civ. P. 12(b)(6).

                                      I.        INTRODUCTION

        The Court should dismiss the Third-Party Plaintiffs’ tortious interference with a contract

claims against McCowan for failure to state a claim under Rule 12(b)(6). First, the Third-Party

Plaintiffs fail to allege sufficient facts for each essential element of a claim for tortious interference

with a contract. Specifically, the Third-Party Plaintiffs fail to allege that McCowan—who was at

all relevant times an officer of VBF—acted completely outside the interests of VBF, as required

for a corporate agent to be legally able to interfere, or that McCowan actively persuaded VBF to

breach the Termination Agreements.           Moreover, the Third-Party Plaintiffs have not alleged

sufficient facts to demonstrate that there was an underlying breach or interference with a contract

that would support their tortious interference claims. The allegations as to Counts 1, 2, and 4

specifically establish that VBF had a contractual right to take the actions it did. Additionally, any

potential claims or remedies against VBF for its actions or alleged breaches were discharged,

released, and enjoined by the VBF Reorganization Plan; therefore, there is no underlying breach

of contract claim to support the Third-Party Plaintiffs’ tortious interference claims. Furthermore,

the damages alleged by the Third-Party Plaintiffs for Counts 1 and 2 are not recoverable as a matter

of law. Finally, the Third-Party Plaintiffs’ claims for attorney’s fees and exemplary damages are

fail as a matter of law.




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                          II.        FACTUAL AND PROCEDURAL BACKGROUND

         In 2014, the Third-Party Plaintiffs founded Plaintiff VeroBlue Farms USA, Inc. (“VBF”),

a sustainable fish farm. The Third-Party Plaintiffs served as directors, officers, and employees of

VBF from its founding in 2014 through the termination of their employment and removal as

officers and directors in late 2017 and early 2018. Specifically, (1) VBF terminated its business

relationship with Hall and Ted Rea on October 27, 2017, and each signed a Business Relationship

Termination Agreements (Dkt. 66-1, Exs. C & D); (2) VBF terminated its business relationship

with Wulf on December 1, 2017, and he signed a Separation Agreement (Dkt. 66-1, Ex. B); and

(3) VBF terminated its business relationship with James Rea on January 8, 2018 for “Egregious

Cause” pursuant to his Employment Agreement (Dkt. 66, Ex. A). (These agreements signed by

the Third-Party Plaintiffs are collectively referred to as the “Termination Agreements.”). On

November 6, 2017, McCowan became the president of VBF, and he currently remains in that role.

(See Dkt. 66, Third-Party Claims ¶ 7).1

         Following the removal and discharge of the last of the Third-Party Plaintiffs in

January 2018, VBF discovered that the Third-Party Plaintiffs misappropriated and misused

millions of dollars in corporate assets and knowingly misrepresented VBF’s operations,

technology, and finances. (See Dkt. 9, Am. Compl. ¶¶ 13-42). In July 2018, VBF filed the instant

lawsuit against the Third-Party Plaintiffs, asserting claims for breach of fiduciary duty, fraudulent

concealment, fraudulent misrepresentation, constructive fraud, civil conspiracy, aiding and

abetting, unjust enrichment, equitable accounting, and a declaratory judgment.2



         1
             The Third-Party Claims erroneously state that McCowan is the chief executive officer of VBF.
         2
           VBF has a pending Motion for Leave to Amend its Amended Complaint [Dkt. 102], seeking to add
additional claims against the Third-Party Plaintiffs for fraudulent transfer, restitution, violations of the Racketeer
Influenced and Corrupt Organizations Act, and rescission of the Termination Agreements that are the basis of the
allegations in the Third-Party Claims.


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         As a result of the misdeeds of the Third-Party Plaintiffs, VBF also filed for bankruptcy

under Chapter 11 (the “VBF Bankruptcy”). See In re VeroBlue Farms USA, Inc. et al., No. 18-

01297 (Bankr. N.D. Iowa, filed Sept. 21, 2018) (“VBF Bankr.”). The U.S. Bankruptcy Court for

the Northern District of Iowa (the “Bankruptcy Court”) confirmed the Amended Joint Chapter

11 Plan of Reorganization of VeroBlue Farms USA, Inc. and Its Affiliated Debtors (the “VBF

Reorganization Plan”) and entered a final judgment on May 7, 2019, which became final on May

22, 2019. (Id. at Dkt. 515, 516).3 The Bankruptcy Court also allowed McCowan to continue in

his role as President of VBF during the bankruptcy and in the confirmation order. (E.g., id. at Dkt.

96 (Chapter 11 Monthly Operating Report)4; Ex. 2 at 10). The Third-Party Plaintiffs were parties-

in-interest to the VBF Bankruptcy, received notice of the proceedings, including those related to

the confirmation, and participated in the proceedings. (E.g., id. at Dkt. 411 (Notice of Attorney

Appearance for Third-Party Plaintiffs)5; see also id. Dkt. 446, 466 (Objections to Confirmation of

Plan by Third-Party Plaintiffs)).

         On April 10, 2019, Third-Party Plaintiffs brought claims for tortious interference against

third parties McCowan, Eva Ebstein, Jens Haarkoetter, Bjorn Thelander, Anders Wester, Dr. Otto



         3
          A true and correct copy of the Bankruptcy Court’s judgment (“Judgment”) is attached hereto as Exhibit 1.
A true and correct copy of the Bankruptcy Court’s confirmation order (“Order”), which includes a copy of the VBF
Reorganization Plan, is attached hereto as Exhibit 2. There were Amended and Restated Minor Modifications to the
VBF Reorganization Plan [Dkt. 511] incorporated into the Order and attached hereto as Exhibit 3.
         The Bankruptcy Court’s Order, Judgment, and VBF Reorganization Plan are appropriately considered with
this motion. Courts considering a motion to dismiss may rely on the allegations of the complaint “as well as other
sources courts ordinarily examine when ruling on Rule 12(b)(6) motions to dismiss, in particular, documents
incorporated into the complaint by reference, and matters of which a court may take judicial notice,” such as VBF’s
bankruptcy filings. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007); see also Mitchell v. Am.
Eagle Airlines, Inc., CIVIL ACTION 15-757-SDD-RLB, 2016 WL 4203826, at *2 & n.28 (M.D. La. Aug. 5, 2016)
(taking judicial notice of defendant’s bankruptcy filings).
         4
           A true and correct copy of the Chapter 11 Monthly Operating Report is attached hereto as Exhibit 4. This
Report is also appropriately considered for this motion. See n.3.
        5
          A true and correct copy of the Notice of Appearance and Request for Service is attached hereto as Exhibit 5.
This Notice is also appropriately considered for this motion. See n.3.


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Happel, and Alder Aqua, Ltd. (collectively, the “Third-Party Defendants”). The Third-Party

Defendants are current and former directors, officers, or shareholders of VBF. (Dkt. 66, Third-

Party Claims ¶¶ 3-9). The Third-Party Plaintiffs assert the Third-Party Defendants tortiously

interfered with the Termination Agreements by allegedly inducing VBF to (1) file suit against Hall

and Ted Rea, allegedly in violation of the releases in their respective Termination Agreements

(Dkt. 66, Third-Party Claims ¶¶ 58, 66); (2) refuse to pay Wulf severance payments allegedly due

to him under the Separation Agreement (Id. ¶ 77); and (3) terminate James Rea based on an

allegedly false claim of “Egregious Cause,” and refuse to pay him amounts allegedly due under

the Employment Agreement. (Id. ¶ 87). Ted Rea and Hall each claim damages “in an amount of

expense he has incurred in defending against claims brought against him by VBF in violation of

the release,” and seek punitive damages and attorneys’ fees (pursuant to Section 7(i) of their

Termination Agreements). (Id. ¶¶ 61-63, 70-72). Wulf seeks damages, punitive damages, and

attorneys’ fees (pursuant to Section 7(i) of the Separation Agreement). (Id. ¶¶ 81-83). James Rea

seeks damages, punitive damages, and attorneys’ fees (pursuant to Section 38.001 of the Texas

Civil Practice and Remedies Code). (Id. ¶¶ 90-92). The claims brought by the Third-Party

Plaintiffs are collectively referred to as the “Third-Party Claims.” The Third-Party Plaintiffs are

simply attempting an end-run around what they know they cannot do—sue VBF for breach of

contract—both because VBF did not breach any contract and also due to the VBF Bankruptcy Plan

resulting from Third-Party Plaintiffs’ own conduct.

                            III.       RULE 12(B)(6) STANDARD

       “To defeat a motion to dismiss filed pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, a plaintiff must plead ‘enough facts to state a claim to relief that is plausible on its

face.’” Bluevine Capital, Inc. v. UEB Builders, Inc., 3:17-CV-3265-L, 2019 WL 142350, at *1–2



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(N.D. Tex. Jan. 9, 2019) (Lindsay, J.) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007); Reliable Consultants, Inc. v. Earle, 517 F.3d 738, 742 (5th Cir. 2008); Guidry v. American

Pub. Life Ins. Co., 512 F.3d 177, 180 (5th Cir. 2007)). “A claim meets the plausibility test when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged. The plausibility standard is not akin to a probability

requirement, but it asks for more than a sheer possibility that a defendant has acted unlawfully.” Id.

(quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal citations omitted). “While a

complaint need not contain detailed factual allegations, it must set forth ‘more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not do.’” Id.

(quoting Twombly, 550 U.S. at 555). “The factual allegations of a complaint must be enough to

raise a right to relief above the speculative level . . . on the assumption that all the allegations in

the complaint are true (even if doubtful in fact).” Id. (quotation marks, internal brackets, and

citations omitted). “When the allegations of the pleading do not allow the court to infer more than

the mere possibility of wrongdoing, they fall short of showing that the pleader is entitled to relief.”

Id. (citing Iqbal, 556 U.S. at 679).

                          IV.          ARGUMENTS AND AUTHORITIES

A.     The Third-Party Plaintiffs fail to allege sufficient facts to state a tortious-interference
       claim.

       The Third-Party Plaintiffs assert four counts of tortious interference: Count 1, Tortious

Interference with Hall Termination Agreement; Count 2, Tortious Interference with Ted Rea’s

Termination Agreement; Count 3, Tortious Interference with Wulf’s Separation Agreement; and

Count 4, Tortious Interference with James Rea’s Employment Agreement. To state a claim for

tortious interference with an existing contract under Texas law, the Third-Party Plaintiffs must

allege that there was “(1) an existing contract subject to interference and (2) a willful and


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intentional act of interference with the contract (3) that proximately caused the plaintiff’s injury

and (4) caused actual damages or loss.” Jacked Up, L.L.C. v. Sara Lee Corp., 854 F.3d 797, 813

(5th Cir. 2017) (quoting Prudential Ins. Co. of Am. v. Fin. Review Servs., Inc., 29 S.W.3d 74, 77

(Tex. 2000)) (internal quotation marks omitted); Community Health Sys. Prof’l Servs. v. Hansen,

525 S.W.3d 671, 689 (Tex. 2017).

       The Third-Party Claims against McCowan fail as a matter of law and should be dismissed

for four independent reasons. First, with respect to Counts 1-4, the Third-Party Plaintiffs fail to

allege that McCowan—who was undisputedly at all relevant times a corporate agent of VBF—

interfered with any of VBF’s contracts with the Third-Party Plaintiffs to serve his own personal

interests at VBF’s expense. Second, the Third-Party Plaintiffs do not allege sufficient facts to

demonstrate that McCowan induced VBF to breach its contracts with the Third-Party Plaintiffs

because with respect to Counts 1, 2, and 4, VBF was merely exercising its rights under the

respective contracts. Third, regarding Counts 1-4, any potential underlying breach of contract

claims against VBF were discharged, released, and enjoined as part of the VBF Bankruptcy Plan.

Fourth, regarding Counts 1-4, the Third-Party Plaintiffs fail to allege sufficient facts that would

demonstrate McCowan actively persuaded VBF to breach its contract with any Third-Party

Plaintiff. Fifth, with respect to Counts 1 and 2, the Third-Party Plaintiffs fail to allege recoverable

damages by Ted Rea or Hall. Finally, regarding Counts 1-4, there is no basis for recovery of

attorneys’ fees by the Third-Party Plaintiffs as a matter of law.




       To plead the willful and intentional interference element of a tortious-interference claim,

the Third-Party Plaintiffs must show that McCowan was legally capable of tortious

interference. See Holloway v. Skinner, 898 S.W.2d 793, 795–96 (Tex. 1995). To be legally


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capable of tortious interference, McCowan must be a “stranger to the contract” with which he

allegedly interfered. Id. at 794-95. Because corporations can act only through human agents, the

general rule is that “the actions of a corporate agent on behalf of the corporation are deemed the

corporation’s acts.” Id. at 795 (citations omitted). Thus, a corporation’s agent is not a stranger to

the contract and cannot tortiously interfere with the corporation’s contract. Hansen, 525 S.W.3d

at 690 (citing Holloway, 898 S.W.2d at 795-96)); see also Benningfield v. City of Houston, 157

F.3d 369, 379 (5th Cir. 1998) (“Generally, as agents of the Defendant, the Defendants cannot be

liable for interference with the city's contracts.”) (citation omitted); Celanese Corp. v. OneBeacon

Am. Ins. Co., 3:15-CV-03822-N, 2016 WL 6496354, at *4 (N.D. Tex. May 20, 2016) (“Under

Texas law, the parties to an ongoing business relationship cannot interfere with their own

relationship. In fact, ‘a person must be a stranger to a contract to tortiously interfere with it.’ With

very few exceptions, only a third party who is an outsider to the business relationship can be liable

for tortious interference.    Because a corporation's agents share its legal identity, corporate

agents . . . generally cannot be held liable for tortious interference with their principal's business

relations.”) (internal citations omitted); Cent. Sav. & Loan Ass’n v. Stemmons Nw. Bank, N.A., 848

S.W.2d 232, 242 (Tex. App.—Dallas 1992, no writ) (“ Where a . . . principal agent relationship

exists, there can be no tortious interference with a contract as a matter of law.”) (citation omitted).

       Thus, when a corporate agent is accused of interfering with the corporation’s contract, it is

the claimant’s burden to show that the agent “‘acted in a fashion so contrary to the corporation’s

best interests that his actions could only have been motivated by personal interests,’ and thus could

not have been acting within the scope of his agency at the time of the interference.” Hansen, 525

S.W.3d at 691 (quoting Holloway 898 S.W.2d at 795-97)); see also Benningfield, 157 F.3d 369 at

379 (same); ACS Investors, Inc. v. McLaughlin, 943 S.W.2d 426, 432 (Tex. 1997) (corporate



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officer or director cannot be held liable for interfering with corporation’s contractual obligations

as long as she is acting in good faith on corporation’s behalf). As explained by the Fifth Circuit,

“[t]he Texas Supreme Court has provided guidance on determining when an corporation's agent is

acting against the corporation’s interests: If a corporation does not complain about it’s agents

actions, then the agent cannot be held to have acted contrary to the corporation’s interests.”.

Mumfrey v. CVS Pharmacy, Inc., 719 F.3d 392, 403 (5th Cir. 2013) (citing Powell Indus. v. Allen,

985 S.W.2d 455, 457 (Tex. 1998)); see also Hansen, 525 S.W.3d at 695 (“Additionally, because

a principal is a superior judge of its own best interests, we consider the principal’s evaluation of

the agent’s actions when determining whether the corporate agent acted against the principal’s

interests. If the principal ‘does not complain about its agent’s actions, then the agent cannot be

held to have acted contrary to the corporation’s interests.’”) (citations omitted).

       Here, it is undisputed and the allegations establish that VBF was a party to each of the

Termination Agreements and that McCowan is and was VBF’s corporate agent at all relevant times

and thus, was not a stranger to the corporation’s contract. (See Dkt. 66 at ¶ 7 (pleading McCowan

“has served as the chief executive officer of VBF since November 6, 2017”); id. at 16 (“McCowan

is the current CEO of VBF.”); id. at Ex. B (McCowan signing Wulf’s Separation Agreement on

behalf of VBF)); id. at Exs. A-D (showing VBF as a party to each contract)). Thus, Third-Party

Plaintiffs must plead and prove that McCowan acted so contrary to VBF’s interests that his actions

could only have been motivated by personal interest. Hansen, 525 S.W.3d at 694. Third-Party

Plaintiffs, however, have not met this burden. Indeed, the Third-Party Plaintiffs do not allege that

McCowan acted in any way other than in good faith on VBF’s behalf in relation to each of the

Termination Agreements addressed in Counts 1-4. Furthermore, the Third-Party Plaintiffs do not

allege sufficient facts that would demonstrate that McCowan acted willfully and intentionally to



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serve his own personal interests at VBF’s expense in relation to any of the Termination

Agreements. And, even if the Third-Party Claims are construed to allege that McCowan sought

to benefit himself and VBF, such “mixed motives” are “insufficient to establish liability.” Powell

Indus., 985 S.W.2d at 457; see also Mumfrey v. CVS Pharmacy, Inc., 719 F.3d 392, 403 (5th Cir.

2013) (“Even an agent’s mixed motives—benefitting himself and the corporation—are

insufficient.”). Finally, the Third-Party Plaintiffs fail to allege facts that would show that VBF

objected to any of McCowan’s actions as an agent of VBF. Therefore, the Third-Party Plaintiffs

fail to allege sufficient facts to demonstrate that McCowan was acting contrary to VBF’s interests

as a matter of law.

       Accordingly, the Third-Party Claims for tortious interference (Counts 1-4) are insufficient

as a matter of law and should be dismissed.



       To state a claim for tortious interference, the Third-Party Claims must include allegations

that McCowan’s conduct amounted to a knowing inducement to VBF to breach its contract with

each Third-Party Plaintiff. See John Paul Mitchell Sys., 17 S.W.3d at 730-31. Inducing a third

party to do what it has a legal right to do does not constitute tortious interference. ACS Investors,

943 S.W.2d at 430. Here, because the allegations themselves show that VBF was acting within

its rights under the Termination Agreements with Hall, Ted Rea, and James Rea, there is no claim

for tortious interference.

       The only inducement alleged by the Third-Party Plaintiffs related to the Termination

Agreements for Ted Rea and Hall (Counts 1 and 2) was for VBF to file this lawsuit against Ted

Rea and Hall. Even assuming these Termination Agreements are enforceable (they are not, as

explained in VBF’s Second Amended Complaint (Dkt. 102 at ¶¶ 309-352) and VBF’s Response



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and Brief in Support to Defendant Keith Driver’s 12(b)(6) Motion to Dismiss (Dkt. 103 at 19-23)),

neither agreement prohibits VBF from bringing a lawsuit. There is no covenant not to sue in the

Termination Agreements. (See Dkt. 66, Exs. C, D). The sole basis for this claim by Ted Rea and

Hall is the purported release provision in the Termination Agreements.                               But Texas law

distinguishes between releases (which are affirmative defenses that do not automatically bar later

claims) and covenants not to sue (which indeed bar later claims). See Cypress Engine Accessories,

LLC v. HDMS Ltd. Co., 283 F. Supp. 3d 580, 587-88 (S.D. Tex. 2017) (noting “[u]nder Texas law,

the court cannot imply a covenant not to sue on released claims from a settlement releasing those

claims,” as Texas Supreme Court precedent provides that “a release of a claim does not equate to

a covenant not to sue on that claim. The issue is whether the specific release language ‘includes a

contractual obligation not to sue.’”) (citation omitted); Nat’l Prop. Holdings, L.P. v. Westergren,

453 S.W.3d 419, 428–29 (Tex. 2015) (“Although the release provides an affirmative defense to

future suits, we cannot construe it as including a covenant not to sue where, in fact, the plain

language does not bar future suits.”).6

         The only inducement alleged by the Third-Party Plaintiffs related to the Employment

Agreement for James Rea (Count 4) was for VBF to terminate James Rea for “Egregious Cause.”

But James Rea’s Employment Agreement provided VBF with the legal right to terminate his

employment for “Egregious Cause,” which it exercised. (See Dkt. 66 at Ex. A, §§ 5(c)(i)-(iii)

(“Employee’s employment hereunder may be terminated by the Company for Cause,” which

means “either Egregious Cause or Non-Egregious Cause.”)).



         6
          Moreover, any interpretation that the release could constitute a covenant not to sue contravenes other
provisions in the agreements that unambiguously demonstrate that the parties contemplated future litigation based on
the agreements. (E.g., Dkt. 66 at Ex. C, § 7(i) (“In the event it becomes necessary to bring suit to enforce any provision
of this Agreement…”); § 7(l) (“Each Party agrees to commence any action, suit or proceeding relating to this
Agreement in the District Court.”)).


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        Therefore, VBF was acting within its legal rights by bringing this lawsuit against Hall and

Ted Rea, and by terminating James Rea’s employment on a basis expressly permitted by his

Employment Agreement, and there was no breach that could have been induced by McCowan.

Accordingly, the tortious-interference claims at Counts 1, 2, and 4 are insufficient as a matter of

law and should be dismissed.



        Each tortious-interference claims at Counts 1-4 should be dismissed because the Third-

Party Claims are wholly derived from and dependent upon the Third-Party Plaintiffs’ allegations

that VBF breached their agreements. Any underlying breach claim against VBF, however, has

been discharged, released, and enjoined as a matter of law by the VBF Bankruptcy Plan. See, e.g.,

Delgado v. Methodist Hosp., 936 S.W.2d 479, 485–86 (Tex. App.—Houston [14th Dist.] 1996, no

pet.) (holding patient’s tortious-interference claim against doctors failed where patient waived any

claim for breach of contract against hospital); Hamlett v. Holcomb, 69 S.W.3d 816, 820 (Tex.

App.—Corpus Christi 2002, no pet.) (affirming dismissal of plaintiff’s tortious-interference claim

against one defendant because plaintiff’s tortious-interference claim was premised on the other

defendant’s breach, and the other defendant did not breach the contract with plaintiff) (citing See

Lopez v. Munoz, Hockema & Reed, L.L.P., 22 S.W.3d 857, 862 (Tex. 2000) (failure of a claim for

breach of contract necessarily defeated claim for breach of fiduciary duty that depended on breach

of contract)).

        The Bankruptcy Court entered an order accepting and confirming the VBF Reorganization

Plan on May 7, 2019, which is now in effect. See Exs. 1 (Order confirming VBF Reorganization

Plan) & 2 (VBF Reorganization Plan). The VBF Reorganization Plan contains broad discharges

and releases for VBF as the Debtor. See Ex. 2, Plan, Art. 9.13 at 26. The Bankruptcy Court Order



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and Judgment reiterate the enforceability of this release. Ex. 1, Judgment at ¶ 6; Ex. 2, Order at

18. Further, the VBF Reorganization Plan contains a broad injunction on claims based on Claims

or other debts or liabilities that were addressed by the VBF Reorganization Plan, which would

include any claim for breach of contract against VBF by the Third-Party Plaintiffs. Ex. 2, Plan,

Art. 9.17 at 29.

       Here, the Third-Party Claims allege only that McCowan tortiously interfered in contracts

of VBF (the debtor) and took certain actions during his time as an employee and officer of VBF

in operation of VBF. To state a claim that McCowan tortiously interfered with the contracts

between VBF and the Third-Party Plaintiffs, the Third-Party Plaintiffs must allege that VBF

induced or caused a breached of such agreements. Because the Third-Party Plaintiffs’ claims for

VBF’s alleged breach of contract were released, discharged, and enjoined by the VBF

Reorganization Plan, the Third-Party Plaintiffs cannot demonstrate the threshold breach of contract

necessary to support their tortious interference claims. Rather, in bringing claims against current

officers of VBF based on alleged breaches of contracts that can no longer be challenged under the

VBF Reorganization Plan, the Third-Party Plaintiffs are simply attempting an end-run around the

Bankruptcy Court, which enjoined such claims.

       Therefore, because any claims against VBF by the Third-Party Plaintiffs have now been

discharged, released, and enjoined, the Third-Party Claims for tortious interference (Counts 1-4)

are insufficient as a matter of law and should be dismissed.




       To state a claim for tortious interference, the Third-Party Plaintiffs must allege that

McCowan’s interference proximately caused their injury. Immobiliere Jeuness Establissement v.

Amegy Bank, 525 S.W.3d 875, 880 (Tex. App.—Houston [14th Dist.] 2017, no pet.). The


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proximate-cause element requires allegations that McCowan took an active role in persuading

VBF to breach the Termination Agreements. See Hambric Sports Mgmt., LLC v. Team AK, Inc.,

3:09-CV-1662-L, 2010 WL 2605243, at *9 (N.D. Tex. June 29, 2010) (Lindsay, J.) (“To properly

show proximate cause, a plaintiff must allege that ‘the defendant took an active part in persuading

a party to a contract to breach it.’”) (quoting Amigo Broad., LP v. Spanish Broad. Sys., Inc., 521

F.3d 472, 493 (5th Cir. 2008)); see also Fitness Evolution, L.P. v. Headhunter Fitness, L.L.C., No.

05-13-00506-CV, 2015 WL 6750047, at *24 (Tex. App.—Dallas Nov. 4, 2015, no pet.) (“It is

necessary that there be some act of interference or of persuading a party to breach, e.g., by offering

better terms or other incentives, for tort liability to arise.”); Davis v. Hyd-Pro, Inc., 839 S.W.2d

137, 139-40 (Tex. App.—Eastland 1992, writ denied)).

       Here, the Third-Party Plaintiffs fail to allege that McCowan took an active role in

persuading VBF to (1) file suit against Ted Rea or Hall; (2) terminate James Rea for cause; or (3)

refuse to pay Wulf or James Rea amounts allegedly due to them. At most, the Third-Party Claims

allege that some of McCowan’s actions on behalf of VBF were allegedly “consistent with” the

“directions” of other third-party defendants, but there is not a single allegation that McCowan

actively persuaded or directed VBF to act. (E.g., Dkt. 66 ¶¶ 35, 42, 48). Therefore, Third-Party

Plaintiffs have failed to allege that McCowan’s interference proximately caused Third-Party

Plaintiffs’ injury, and the Third-Party Claims for tortious interference (Counts 1-4) are insufficient

as a matter of law and should be dismissed.




       The only alleged damage with respect to Counts 1 and 2 is the “amount of expense” that

Ted Rea and Hall have “incurred in defending against claims brought against [them] by VBF in

violation of the release.” (Dkt. 66 at ¶¶ 61, 70). Attorneys’ fees, however, generally “are in the


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nature of costs, not damages” and cannot be awarded as damages for alleged tortious interference.

See Alma Grp., L.L.C. v. Palmer, 143 S.W.3d 840, 846 (Tex. App.—Corpus Christi 2004, pet.

denied) (reversing trial court award of attorneys’ fees as damages for tortious interference);

Williams v. Compressor Eng’g Corp., 704 S.W.2d 469, 474 (Tex. App.—Houston [14th Dist.]

1986, writ ref’d n.r.e.) (same). An exception to this general rule is that a plaintiff can recover

attorneys’ fees as damages “where a plaintiff has been involved in litigation with a third party as

a result of the tortious act of another, plaintiff may recover in a separate suit for his reasonable

and necessary expenses of the prior litigation.” Turner v. Turner, 385 S.W.2d 230, 234 (Tex.

1964). Here, the Third-Party Plaintiffs do not allege that the attorneys’ fees they seek to recover

were incurred in the prosecution or defense of a prior action, and the fees to which they refer are

those incurred in this litigation. They cannot recover attorneys’ fees through a cross-claim in the

same suit. Brown & Brown of Texas, Inc. v. Omni Metals, Inc., 317 S.W.3d 361, 399 (Tex. App.—

Houston [1st Dist.] 2010, pet. denied) (“Certain prerequisites must, however, be met. These

include: (1) the plaintiff must have incurred attorney’s fees in the prosecution or defense of a prior

action, and (2) the litigation must have involved a third party and must not have been brought

against the defendant in the same action in which the fees are sought.”).

       Therefore, Counts 1 and 2 fail to allege any actual damage or loss—an essential element

of their tortious-interference claims. Accordingly, Counts 1 and 2 are insufficient as a matter of

law and should be dismissed. See Hansen, 525 S.W.3d at 689.



       In Counts 1, 2, and 3, Hall, Ted Rea, and Wulf seek attorneys’ fees pursuant to a provision

in their respective Termination Agreements. In Count 4, James Rea seeks attorneys’ fees pursuant

to Section 38.001 of the Texas Civil Practice and Remedies Code. (Id. ¶¶ 90-92). Section 38.001



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provides eight different statutory grounds upon which a party may recover reasonable attorney’s

fees. James Rea, however, fails to plead which of the eight grounds under Section 38.001 serves

the basis for his claim for attorneys’ fees. In any event, no Third-Party Plaintiffs’ claim for

attorneys’ fees has any legal basis, and all should be dismissed.

       Under Texas law, litigants may recover attorneys’ fees only if authorized by statute or by

a contract between the parties. See, e.g., Holland v. Wal-Mart Stores, Inc., 1 S.W.3d 91, 95 (Tex.

1999) (citations omitted).     No statute authorizes recovery of attorneys’ fees for tortious

interference with a contract, including Chapter 38 of the Texas Civil Practice & Remedies Code.

See Alma Grp., LLC v. Palmer, 143 S.W.3d 840, 846 n.5 (Tex. App.—Corpus Christi 2004, pet.

denied) (“there is no statutory or contractual basis for recovery of attorney fees for a tortious-

interference claim.”) (citing Ed Rachal Found. v. D’Unger, 117 S.W.3d 348, 357 (Tex. App.—

Corpus Christi 2003), rev’d in part on other grounds, 207 S.W.3d 330 (Tex. 2006); Martin–Simon

v. Womack, 68 S.W.3d 793, 797 (Tex. App.—Houston [14th Dist.] 2001, pet. denied)). Moreover,

the Third-Party Plaintiffs do not allege the existence of a contract between themselves and

McCowan, which is required in order to recover attorneys’ fees pursuant to a contractual provision.

       Further, the Third-Party Plaintiffs do not allege sufficient facts to support prior presentment

of a claim for attorneys’ fees as required by Section 38.002. See TEX. CIV. PRAC. & REM. CODE

§ 38.002 (“To recover attorney’s fees under this chapter: …(2) the claimant must present the claim

to the opposing party…”); see also Gibson v. Cuellar, 440 S.W.3d 150, 157 (Tex. App.–Houston

[14th Dist.] 2013, no pet.) (“The claimant bears the burden to plead and prove presentment of the

claim.”); Note Inv. Grp., Inc. v. Assocs. First Capital Corp., 476 S.W.3d 463, 485 (Tex. App.—

Beaumont 2015, no pet.) (“However, neither the filing of suit, nor the allegation of a demand in

the pleadings can, alone, constitute presentment of a claim or a demand that a claim be paid.”)



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(citing Helping Hands Home Care, Inc. v. Home Health of Tarrant Cnty., Inc., 393 S.W.3d 492,

516 (Tex. App.–Dallas 2013, pet. denied); Jim Howe Homes, Inc. v. Rogers, 818 S.W.2d 901, 904

(Tex. App.–Austin 1991, no writ)). Therefore, the claims for attorneys’ fees in Count 1-4 should

be dismissed.

B.     The Third-Party Plaintiffs’ allegations do not support exemplary damages.

       To recover exemplary damages based on a claim of tortious interference, there must be

alleged harm that results from McCowan’s fraud, malice, or gross negligence. See TEX. CIV. PRAC.

& REM. CODE § 41.003(a). In other words, the Third-Party Claims must allege facts supporting

that McCowan (1) specifically intended to cause substantial injury or harm to Third-Party Plaintiffs;

or (2) was consciously indifferent to the prospect of substantial injury to Third-Party Plaintiffs. Id.

§§ 41.001(7), (11). Importantly, allegations that arguably support the willful-harm element of

their tortious-interference claims “cannot also justify a punitive damages award. More is required.”

Safeshred, Inc. v. Martinez, 365 S.W.3d 655, 662 (Tex. 2012) (citations omitted); see also Merritt

Hawkins & Associates, L.L.C. v. Gresham, 861 F.3d 143, 151 (5th Cir. 2017).

       To state a claim for exemplary damages, Third-Party Plaintiffs must allege “something

independent and qualitatively different from the compensable harms associated with the cause of

action.” Id. (citation and quotations omitted). The Third-Party Claims fail to do so.

       Here, the Third-Party Plaintiffs merely state that they seek exemplary damages based on

“the intentional, malicious and vindictive nature of the Alder Defendants’ conduct.” (Dkt. 66 ¶ 62

(Hall), ¶ 82 (Wulf), ¶ 91 (James Rea); see also id. ¶ 71 (Ted Rea) (noting that Ted Rea seeks

exemplary damages based on “the intentional, vexatious and vindictive nature of the Alder

Defendants’ conduct”). Beyond these conclusory allegations, there are no facts alleged to support




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any award of exemplary damages against McCowan or any Third-Party Defendant. Therefore, the

claims for exemplary damages in Counts 1-4 should be dismissed.

                                   V.        CONCLUSION

       For the reasons set forth above, Third-Party Defendant Norman McCowan respectfully

requests that the Court dismiss the Third-Party Claims (Counts 1-4) pursuant to Federal Rule of

Civil Procedure 12(b)(6). McCowan also requests all other relief to which he may be entitled.




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DATED: May 31, 2019                         Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       This document was filed electronically on May 31, 2019, and, in compliance with Local
Civil Rule L.R. 5.1(d), a copy of this document has been served on all counsel of record.

                                                   /s/ Jasmine Wynton
                                                   Jasmine Wynton




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